                  Case 2:17-cr-00025-JCC Document 73 Filed 10/19/20 Page 1 of 2




                                                        THE HONORABLE JOHN C. COUGHENOUR
 1

 2

 3

 4

 5

 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9    UNITED STATES OF AMERICA,                             CASE NO. CR17-0025-JCC
10                            Plaintiff,                    MINUTE ORDER
11               v.

12    KEVIN C. CAMPBELL,

13                            Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on the parties’ stipulated motion to stay briefing on
18   Mr. Campbell’s motion for compassionate release (Dkt. No. 69). Having thoroughly considered
19   the motion and the relevant record and finding good cause, the Court GRANTS the motion.
20   Counsel for Mr. Campbell is ORDERED to notify the Court once he reaches a conclusion about
21   whether he will file a supplemental or amended motion for compassionate release. If such a
22   motion will be filed, the parties shall file a stipulated motion setting forth the parties’ views on
23   an appropriate briefing schedule. If a supplemental or amended motion will not be filed, the
24   Government shall respond to Mr. Campbell’s pending motion (Dkt. No. 67) within 14 days of
25   the date on which Mr. Campbell’s notice is filed.
26          //


     MINUTE ORDER
     CR17-0025-JCC
     PAGE - 1
             Case 2:17-cr-00025-JCC Document 73 Filed 10/19/20 Page 2 of 2




 1         DATED this 19th day of October 2020.

 2                                                William M. McCool
                                                  Clerk of Court
 3
                                                  s/Tomas Hernandez
 4
                                                  Deputy Clerk
 5

 6

 7

 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     MINUTE ORDER
     CR17-0025-JCC
     PAGE - 2
